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                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


DALE MADDOCKS,                                )
                                              )
               Plaintiff                      )
                                              )
       v.                                     )      2:15-cv-00168-JAW
                                              )
PORTLAND POLICE DEPARTMENT,                   )
et al.,                                       )
          Defendants                          )


      RECOMMENDED DECISION ON MOTION FOR SUMMARY JUDGMENT
           OF DEFENDANTS CUMBERLAND COUNTY AND JOYCE

       In this action, Plaintiff Dale Maddocks alleges Defendants, including Defendants

Cumberland County and Sheriff Kevin Joyce, violated his constitutional rights in connection with

an arrest and detention in May, 2013.

       The matter is before the Court on the motion for summary judgment of Defendant

Cumberland County and Defendant Joyce. (Motion, ECF No. 57.) Through the motion, the

County and Sheriff Joyce seek summary judgment on all of the claims (counts VII, VIII, XIII, and

XIV of the amended complaint) asserted against them.

       Following a review of the summary judgment record, I recommend the Court grant the

motion.

                                 SUMMARY JUDGMENT RECORD

       At summary judgment, the Court ordinarily considers only the facts included in the parties’

statements of material facts, which statements must be supported by citations to evidence of record.

Federal Rule of Civil Procedure 56(c) and District of Maine Local Rule 56(b) – (d) require the

specific citation to record evidence. In addition, Local Rule 56 establishes the manner by which
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parties must present their factual statements and the evidence on which the statements depend. A

party seeking summary judgment thus must file a supporting statement of material facts setting

forth each fact in a separately numbered paragraph, with each factual statement followed by a

citation to evidence of record that supports the factual statement. D. Me. Loc. R. 56(b), (f).

       A party seeking to oppose a properly filed and supported motion for summary judgment

must file an opposing statement of material facts that admits, denies, or qualifies the factual

statements made by the moving party. D. Me. Loc. R. 56(c). Unless a statement is admitted, the

opposing party must provide a citation to evidence of record that supports the opposing statement.

Id. If a party fails to do so, the moving party’s factual statements “shall be deemed admitted.” D.

Me. Loc. R. 56(f). Moreover, pursuant to Local Rule 7(b), parties are expected to file an objection

to a motion if they contest the motion, and unless they do so are “deemed to have waived

objection.”

       A court, however, “may not automatically grant a motion for summary judgment simply

because the opposing party failed to comply with a local rule requiring a response within a certain

number of days.” NEPSK, Inc. v. Town of Houlton, 283 F.3d 1, 7-8 (1st Cir. 2002). Instead, courts

must assess whether the movant has shown “that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       In this case, the summary judgment record consists of the Local Rule 56 record filed by

Defendants Cumberland County and Joyce. Plaintiff’s First Amended Complaint (Complaint,

ECF No. 19) is unsworn and Plaintiff did not file an opposing statement of material facts or any

record material.




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                                       BACKGROUND FACTS

       In his amended complaint, Plaintiff alleges that members of the Portland, Maine, police

force falsely arrested him on May 8, 2013. (Complaint ¶¶ 10 –15.) Plaintiff further asserts that

following his arrest, a certain deputy and “corrections officers Moody and McCarty,” all employed

by Cumberland County, used excessive force against him while he was detained at the Cumberland

County Jail, left him overnight with inadequate clothing in an air conditioned room, taunted him

periodically through the night, and ignored his complaints of severe pain as a result of their use of

force. (Id. ¶¶ 16 – 23.)

       Plaintiff also maintains the sheriff’s deputy and corrections officers were inadequately

trained and supervised. Plaintiff contends that because Defendant Joyce is responsible for

establishing policies and procedures for the Cumberland County Jail, and for training jail staff, he

can recover against Defendant Joyce for the violation of his rights under 42 U.S.C. § 1983 and the

Maine Civil Rights Act, 5 M.R.S. § 4682. (Id., Count VII, ¶¶ 67 – 72, Count XIII, ¶¶ 99 – 104.)

Relatedly, Plaintiff asserts a claim against Defendant Cumberland County because Defendant

Joyce has final policy-making authority for the County regarding the operation of the Cumberland

County Jail. (Id., Count VIII, ¶¶ 73 – 77, Count XIV, ¶¶ 105 – 109.)

       The uncontroverted record evidence establishes the following:

       1.      Defendant Moody has been a corrections officer at the Cumberland County
       Jail since 2003. (Erik Moody Aff., ¶ 1, ECF No. 58-1.)

       2.      Defendant Moody’s training includes the required basic corrections course.
       In addition, every year he receives a minimum of 40 hours of additional training,
       which has included courses on policies and procedures, use of control, unarmed
       self-defense and the supervision of inmates. (Moody Aff., ¶ 2.)

       3.    Defendant McCarty has been a corrections officer at the Cumberland
       County Jail since 2004. (Derek McCarty Aff., ¶ 1, ECF No. 58-2.)




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       4.      Defendant McCarty’s training includes the required basic corrections
       course. In addition, every year he receives a minimum of 40 hours of additional
       training which has included courses on policies and procedures, use of control,
       unarmed self-defense and the supervision of inmates. (McCarty Aff., ¶ 2.)

       5.     Defendant Joyce has been the Sheriff of Cumberland County since January
       2011. (Kevin Joyce Aff., ¶ 1, ECF No. 58-3.)

       6.    As Sheriff of Cumberland County, Defendant Joyce has final decision
       making authority regarding all policy and operational matters at the Cumberland
       County Jail. (Joyce Aff., ¶ 2.)

       7.     The Cumberland County Sheriff’s Office Corrections Division Policy and
       Procedure Manual contains the official policies and procedures of the Cumberland
       County Jail. Staff is required to review and be knowledgeable about and conversant
       with the policies in the manual. Staff can review the manual through use of a
       computer. (Joyce Aff., ¶ 3.)

       8.     Cumberland County Jail Policy and Procedure has a policy entitled “Use of
       Force,” which is the official policy and procedure of the Cumberland County Jail
       regarding the use of force and was in effect on the date of the incidents alleged in
       this matter. (Joyce Aff., ¶ 4; Exhibit 1.)

       9.      Defendant Joyce was not at the scene of the incidents about which Plaintiff
       complains in this matter. Defendant Joyce did not have any involvement either by
       participation, direction or supervision in events about which Plaintiff complains.
       (Joyce Aff., ¶ 5.)

       10.     Whenever allegations of excessive force are brought to Defendant Joyce’s
       attention, an internal affairs investigation is conducted. If the allegations are
       substantiated, the officers involved are disciplined. (Joyce Aff., ¶ 6.)

       11.    There have been no internal affairs investigations that have substantiated
       the excessive use of force by either Defendants Moody or McCarty. (Joyce Aff.,
       ¶ 7.)

(Statement of Material Facts, ECF No. 58.)

                               SUMMARY JUDGMENT STANDARD

       “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). “After the moving party has presented evidence in support of its motion for summary



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judgment, ‘the burden shifts to the nonmoving party, with respect to each issue on which he has

the burden of proof, to demonstrate that a trier of fact reasonably could find in his favor.’”

Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st Cir. 2013) (quoting Hodgens v. Gen. Dynamics

Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

        A court reviews the factual record in the light most favorable to the non-moving party,

resolving evidentiary conflicts and drawing reasonable inferences in the non-movant’s favor.

Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If the court’s review of the record reveals evidence

sufficient to support findings in favor of the non-moving party on one or more of his claims, a

trial-worthy controversy exists and summary judgment must be denied to the extent there are

supported claims. Id. at 77-78 (“The district court’s role is limited to assessing whether there exists

evidence such that a reasonable jury could return a verdict for the nonmoving party.”) (internal

quotation marks and alteration omitted). Unsupported claims are properly dismissed. Celotex

Corp. v. Catrett, 477 U.S. 317, 323-24 (1986) (“One of the principal purposes of the summary

judgment rule is to isolate and dispose of factually unsupported claims or defenses . . . .”).

                                                 DISCUSSION

        Defendants Cumberland County and Joyce contend summary judgment is warranted

because the record lacks any evidence that Defendant Joyce was involved in the alleged incidents,

or that the incidents were the product of inadequate training or an unlawful policy, custom or

practice established by Defendant Joyce or Defendant Cumberland County. Because Plaintiff

asserts his claims pursuant to 42 U.S.C. § 1983 and the Maine Civil Rights Act, 5 M.R.S. § 4682,

the same analysis governs the assessment of Plaintiff’s claims under both statutes.1 See Cady v.




1
 [M]unicipalities and other local governmental bodies are “persons” within the meaning of [42 U.S.C. § 1983]. See
Bd. of Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 403 (1997).

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Walsh, 753 F.3d 348, 356 n.6 (1st Cir. 2014) (citing Berube v. Conley, 506 F.3d 79, 85 (1st Cir.

2007) (“The disposition of a 42 U.S.C. § 1983 claim also controls a claim under the MCRA.”)).

A.     Supervisory Liability

       Supervisory officials are legally responsible for constitutional violations committed by a

subordinate if the subordinate’s behavior resulted in a constitutional violation, and the supervisor’s

own action or inaction can be affirmatively linked to the subordinate’s conduct through record

evidence, which could include evidence of “‘supervisory encouragement, condonation or

acquiescence or gross negligence amounting to deliberate indifference.’” Estate of Bennett v.

Wainwright, 548 F.3d 155, 176-77 (1st Cir. 2008) (quoting Pineda v. Toomey, 533 F.3d 50, 54

(1st Cir. 2008)); Norton v. City of S. Portland, 831 F. Supp. 2d 340, 365 (D. Me. 2011).

       Here, the undisputed evidence establishes that Defendant Joyce was not involved in any

supervisory way – through participation, direction or supervision – in the incidents about which

Plaintiff complains. Based on the record evidence, therefore, Defendant Joyce is entitled to

summary judgment on Plaintiff’s supervisory claims.

B.     Failure to Train

       A plaintiff can succeed on a failure to train claim “[o]nly if the failure to train ‘amounts

to deliberate indifference to the rights of persons with whom the police come into contact,’ and is

‘closely related’ to, or ‘the moving force’ behind, the constitutional injury . . . .” Hayden v.

Grayson, 134 F.3d 449, 456 (1st Cir. 1998) (emphasis in original) (quoting City of Canton v.

Harris, 489 U.S. 378, 388-89, 391 (1989)). Deliberate indifference requires evidence that the

defendant had active or constructive knowledge of a training deficiency that exposed the plaintiff

to a substantial risk of deprivation of his constitutional rights, yet failed to act to prevent the

deprivation. Young v. City of Providence, 404 F.3d 4, 28 (1st Cir. 2005). Knowledge of such risk



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can be demonstrated by evidence of a pattern of prior constitutional violations, or by “‘a narrow

range of circumstances’” in which a violation of a constitutional right is a “‘highly predictable

consequence of a failure to equip law enforcement officers with specific tools to handle recurring

situations.’” Id. (quoting Bd. of Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 409 (1997)).

        The record evidence demonstrates that Cumberland County had a policy regarding

excessive force, the written policy was available to the officers, and the corrections officers

received regular training on the County’s policies and procedures and/or were required to be

conversant with the policies and procedures.2 Indeed, Plaintiff has offered no record evidence to

suggest Defendants Cumberland County and Joyce failed to train the officers on the applicable

policies and procedures. Defendants are thus entitled to summary judgment on Plaintiff’s claim

of failure to train the officers.

C.       Policy, Custom or Practice

        To establish that a municipality is liable for a constitutional deprivation caused by one of

its employees, a plaintiff must demonstrate that the deprivation was the product of an official

policy, or “a custom or practice … so ‘well-settled and widespread that the policymaking officials

of the municipality can be said to have either actual or constructive knowledge of it yet did nothing

to end the practice.’” Bisbal-Ramos v. City of Mayagűez, 467 F.3d 16, 23-24 (1st Cir. 2006)

(quoting Silva v. Worden, 130 F.3d 26, 31 (1st Cir. 1997)). “The custom or practice must also be

the cause and moving force behind the deprivation of constitutional rights.” Id. at 24.



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  Plaintiff maintains that an unknown sheriff’s deputy participated in the use of force. Plaintiff, however, has not
offered any statement or evidence regarding the identity of the individual, nor has Plaintiff provided any record
evidence that would support a conclusion that the individual was not trained appropriately in the use of force. In
addition, although Defendants have not addressed the unknown individual’s specific training, according to Defendant
Joyce, whose affidavit testimony is uncontroverted, the Cumberland County Sheriff’s Office Corrections Division had
in place at the pertinent time a policy on use of force, and all personnel of the Sheriff’s Office must review and be
knowledgeable about and conversant with the policies and procedures of the Sheriff’s Office. (Joyce Aff. ¶¶ 3, 4,
ECF No. 58-3.)

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       The undisputed record evidence establishes that Cumberland County maintains an

appropriate policy regarding the use of force. Similarly, Defendants’ assertion that the policies

and procedures are made available to the County personnel is uncontroverted. Accordingly,

summary judgment is appropriate on Plaintiff’s policy, custom or practice claims against

Defendant Cumberland County.

                                          CONCLUSION

       Based on the foregoing analysis, I recommend the Court grant Defendant Cumberland

County’s and Defendant Joyce’s Motion for Summary Judgment (ECF No. 57), and enter

judgment in favor of Defendants Cumberland County and Joyce on Counts VII, VIII, XIII, and

XIV of Plaintiff’s amended complaint.

                                            NOTICE

               A party may file objections to those specified portions of a magistrate
       judge’s report or proposed findings or recommended decisions entered pursuant to
       28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
       together with a supporting memorandum, within fourteen (14) days of being served
       with a copy thereof. A responsive memorandum shall be filed within fourteen (14)
       days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right to de
       novo review by the district court and to appeal the district court’s order.


                                                     /s/ John C. Nivison
                                                     U.S. Magistrate Judge

       Dated this 29th day of December, 2016.




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